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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DOUGLAS ADELL AND SUSAN ADELL §
                              §
V.                            §                  CIVIL ACTION NO. 4:17-CV-01735
                              §
THE TRAVELERS HOME AND MARINE §
INSURANCE COMPANY             §

                         DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW, The Travelers Home and Marine Insurance Company, the

defendant in the above entitled and numbered cause, and files this its notice of removal,

and in support thereof would respectfully show unto this Honorable Court as follows:

                                       I.
                               STATE COURT ACTION

      This case was initially filed in the 284th Judicial District Court of Montgomery

County, Texas. The state court action is styled: Cause No. 17-05-05648; Douglas Adell

and Susan Adell vs. The Travelers Home and Marine Insurance Company, in the 284th

Judicial District Court of Montgomery County, Texas.

                                          II.
                                       PARTIES

      The plaintiffs, Douglas Adell and Susan Adell, are, upon information and belief,

individual citizens and residents of Montgomery County, Texas.

      The defendant, The Travelers Home and Marine Insurance Company

(“Travelers”), is a Connecticut corporation with its principal place of business in the

State of Connecticut.
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                                         III.
                                    JURISDICTION

      This Court has jurisdiction over the subject matter of this cause, pursuant to 28

U.S.C. § 1332, because this is a civil action in which the matter in controversy exceeds

the sum or value of $75,000.00, exclusive of interest and costs, and is between citizens

of different states. Accordingly, this cause is removable pursuant to 28 U.S.C. § 1441

and § 1446.

                                          IV.
                                      TIMELINESS

      Travelers was served with process and the plaintiff’s original petition on May 22,

2017. Thirty days have not elapsed since Standard Fire was served with process.

Accordingly, pursuant to 28 U.S.C. § 1446, this notice of removal is timely and proper.

                                         V.
                                    ATTACHMENTS

      Pursuant to 28 U.S.C. § 1446(a), Local Rule 3, and Local Rule 81, the following

exhibits are attached hereto and incorporated herein by reference for all purposes:

      a. Exhibit A:    Civil action cover sheet;

      b. Exhibit B:    Copies of all executed processes in the case, if any;

      c. Exhibit C:    Copies of all pleadings asserting causes of action and all

                       answers to such pleadings;

      d. Exhibit D:    Copies of all orders signed by the state court judge, if any;

      e. Exhibit E:    A copy of the state court docket sheet;

      f. Exhibit F:    An index of matters being filed; and

      g. Exhibit G:    A list of all counsel of record, including addresses, telephone

                       numbers, and parties represented.

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                                       VI.
                              CONDITIONS PRECEDENT

       The defendant has tendered the filing fee required by the Clerk of the United

States District Court for the Southern District of Texas, Houston Division, along with this

notice of removal. A copy of this notice of removal is also being filed in the 284th

Judicial District Court of Montgomery County, Texas, and all counsel of record are being

provided with complete copies.

                                        PRAYER

       WHEREFORE, PREMISES CONSIDERED, the defendant respectfully requests

that the above action, styled: Cause No. 17-05-05648; Douglas Adell and Susan Adell.

vs. The Travelers Home and Marine Insurance Company, in the 284th Judicial District

Court of Montgomery County, Texas, be removed to this Court.

                                                 Respectfully submitted,
                                                 ORGAIN BELL & TUCKER, LLP
                                                 P O Box 1751
                                                 Beaumont, TX 77704-1751
                                                 (409) 838-6412
                                                 (409) 838-6959 facsimile

                                                 /s/ Greg C. Wilkins
                                                 Greg C. Wilkins
                                                 State Bar No. 00797669
                                                 gcw@obt.com
                                                 Warren B. Wise
                                                 State Bar No. 24075299
                                                 wwise@obt.com

                                                 ATTORNEYS FOR DEFENDANT,
                                                 THE TRAVELERS HOME AND
                                                 INSURANCE COMPANY




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                              CERTIFICATE OF SERVICE
       I do hereby certify that on the 8thth day of June, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system and also forwarded it to all
known counsel of record by Certified Mail, Return Receipt Requested.



                                                /s/ Greg C. Wilkins         __________
                                                  Greg C. Wilkins




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